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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

  UNITED STATES OF AMERICA                            §
                                                      §
                                                      § CASE NUMBER 9:16-CR-00015(4)-RC
                                                      §
  v.                                                  §
                                                      §
  DANIEL HOWARD                                       §
                                                      §


                  MEMORANDUM ADOPTING REPORT AND
           RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

        This matter was referred to United States Magistrate Judge Keith F. Giblin for

 consideration of the defendant Daniel Howard’s motion to suppress. Judge Giblin conducted a

 hearing and issued findings of fact and a report and recommendation on the motion.             He

 recommended that the Court deny the motion to suppress.

        Defendant filed objections to the recommendation (Doc. No. 133), the Government

 responded to those objections (Doc. No. 134), and the defendant then replied to the

 Government’s response (Doc. No. 135).           The defendant’s objections to Judge Gibln’s

 report focus on his complaints that (1) the traffic stop made the basis of the charges against

 Daniel Howard was not supported by probable cause and (2) the traffic stop extended beyond the

 time necessary to address the speeding violation. See Objections, at p. 3. He argues that Deputy

 Gonzalez (the officer who initiated the traffic stop) did not have reasonable suspicion to

 prolong the traffic stop to extend into a general criminal investigation. See id. at p. 4.

        The Court has reviewed the defendant’s specific objections and the parties’ related briefs,

 along with Judge Giblin’s report and the record. Judge Giblin concluded that Deputy Gonzales

 did not impermissibly extend the time necessary to complete the mission of the traffic stop and

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 allow time for the K-9 drug detection dog to arrive. See Report and Recommendation, at p. 14.

 Judge Giblin outlined his specific reasons for reaching this conclusion. Id. at pp. 13-14. He also

 found that reasonable suspicion sufficient to support both the initial traffic stop and the three

 minute detention of Howard until the K-9 dog alerted on the vehicle. Id. at pp. 12, 17. Judge

 Giblin cited ample Fifth Circuit case law in support of his conclusions. See United States v. Pack,

 612 F.3d 341, 361 (5th Cir. 2010); United States v. Zavala, 541 F. 3d 562, 574 (5th Cir. 2008);

 United States’ v. Brigham, 382 F.3d 500, 511 (5th Cir. 2004).

        Howard’s objections reference Rodriguez v. United States, __ U.S. __, 135 S. Ct. 1609

 (2015), although he does not explain with specificity how that case warrants overruling Judge

 Giblin’s findings. In any event, the Court is unpersuaded that the Rodriguez case aids Howard’s

 position. In Rodriguez, the United States Supreme Court noted that the critical question is not

 whether the dog sniff occurs before or after the officer issues a ticket, but whether conducting the

 sniff adds time to the stop. Rodriguez, at 1616. The case was remanded to the Eighth Circuit for

 consideration of whether reasonable suspicion of criminal activity justified detaining Rodriguez

 beyond completion of the traffic infraction investigation in that case. Id. at 1616-17. On remand,

 applying the exclusionary rule, the United States Court of Appeals for the Eighth Circuit held that

 “the seven-or-eight minute delay in this case constituted a de minimis intrusion on Rodriguez’s

 personal liberty and that Rodriguez’s seizure was unlawful under our then-binding precedent.”

 United States v. Rodriguez, 799 F.3d 1222, 1223 (8th Cir. 2015). The Supreme Court’s opinion in

 Rodriguez does reinforce the holding that “[a] seizure justified only by a police-observed traffic

 violation. . .become[s] unlawful if it is prolonged beyond the time reasonably required to complete

 th[e] mission of issuing a ticket for the violation.” 135 S. Ct. at 1612 (quoting Illinois v Cabales,

 543 U.S. 405, 407 (2005)). This does not in and of itself, however, automatically render every



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 traffic stop improper by virtue of the fact that it extends beyond the mission of the traffic violation.

 Such a determination is still made considering the totality of the circumstances and whether the

 dog sniff is independently supported by individualized suspicion. See id. at 1616. It follows that

 this analysis must be done on a case-by-case basis.

         Here, the record shows that Deputy Gonzalez pulled over Mr. Howard based on reasonable

 suspicion of a speeding violation and probable cause in fact supported the traffic stop for speeding.

 See, e.g., United States v. Rosales-Guiron, 592 F. App’x 246, 251 (5th Cir. 2014). The record also

 shows that Deputy Gonzales initiated the criminal history and warrant check on Mr. Howard within

 three minutes after initiating the stop, and the process was completed within sixteen minutes into

 the stop when Deputy Gonzales located Howard’s arrest record in NCIC/TCIC. Finally, the

 evidence shows that Howard was detained only three minutes past completion of the NCIC/

 TCIC record check – from 9:03 pm to 9:06 pm – before the K-9 alerted on his vehicle. The

 entire stop lasted only nineteen minutes. Under binding Fifth Circuit precedent, the magistrate

 judge was correct to determine that under the totality of the circumstances, including Howard’s

 behavior (indicating extreme nervousness), suspicions about his travel plans, and the

 reasonableness of Deputy Gonzalez’s suspicions based on his training and experience, the period

 of detention during the stop was reasonable. See United States v. Pack, 612 F.3d 341, 361 (5th Cir

 2010), cert. denied 562 U.S. 1052 (2010)(upholding a thirty-five minute traffic stop which

 included an eight minute delay between the completion of routine records checks and the

 arrival of the canine unit); see also United States v. Brown, 567 F. App’x 272, 278-79

 (5th Cir. 2014)(finding that the circumstances, including the defendant’s behavior during the

 stop and the officer’s reliance on another officer’s drug alert, constituted reasonable suspicion

 justifying a brief prolongation of the traffic stop);United States v. Fajardo-Guevara, 507 F.

 App’x 365, 368 (5th
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 Cir. 2013)(officer’s suspicions of a defendant’s display of nervousness, inability to identify her

 profession, and difficulty in explaining where she was traveling from, established reasonable

 suspicion justifying four minutes of detention between the end of the traffic stop and the K-9

 walking around the vehicle).

        Pursuant to 28 U.S.C. § 636(b)(1) and Federal Rule of Criminal Procedure 59(b)(3), this

 Court conducted a de novo review of the record in this matter. For the reasons stated above, the

 Court overrules the defendant’s objections and agrees with Judge Giblin’s conclusions.

        It is therefore ORDERED that the Report and Recommendation on Motion to Suppress

 (Doc No. 129) is ADOPTED and Defendant Daniel Howard’s Motion to Suppress (Doc. No. 98)

 is DENIED.

      So ORDERED and SIGNED this 14 day of December, 2016.




                                                     ___________________________________
                                                     Ron Clark, United States District Judge




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